Case 2:11-cv-14032-PDB-LJM ECF No. 34-3, PagelD.262 Filed 03/23/12 Page 1 of 16

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

COACH, INC. and COACH SERVICES,

INC.,
Civil Action No. 2:1 1-cv-14032-PDB-LJM

Plaintiffs,
Hon. Paul D. Borman

V.

DEQUINDRE PLAZA, L.L.C., MICHAEL
SHOLEM SURNOW, SOON HWA KIM,
ASABOR ALI, and MARJORIE ESTHER
GLOGOWER

Defendant(s).

COACH’S FIRST INTERROGATORIES, REQUESTS FOR PRODUCTION
AND REQUESTS FOR ADMISSION TO
DEFENDANT SOON HWA KIM

Pursuant to Fed. R. Civ. Proc. 33, 34 and 36, Plaintiffs Coach, Inc. and Coach Services,
Inc. (collectively, “Coach”) propound the following Requests for Production, Requests for
Admission, and Interrogatories on Defendant Soon Hwa Kim. Responses shall be provided to
the offices of Coach’s attorney at the address below within 30 days.

INSTRUCTIONS

A. These interrogatories and production requests are deemed to be continuing in
nature and should you, your counsel, or anyone representing your interest, acquire any additional
knowledge or information which affects the accuracy or completeness of any answer which
relates to the matter, such knowledge and information must be transmitted to the Plaintiffs’

attorney by way of supplemental answers. Failure to supplement an answer within a reasonable
Case 2:11-cv-14032-PDB-LJM ECF No. 34-3, PagelD.263 Filed 03/23/12 Page 2 of 16

time can subject a party to sanctions. Furthermore you are under a similar duty to correct any
incorrect response when you later learn that it is incorrect.

B. The information sought in these discovery requests includes all information
available to you or subject to reasonable inquiry by you, including information in the possession
of you, your agents, representatives, employees, insurers and attorneys. Regardless of the
manner in which these interrogatories are addressed and regardless of their form, your answers
are to include all information available to you, your attorneys and/or their representatives.

C. If a discovery request has subparts, answer each subpart separately and in full,
and do not limit the answer to the interrogatory as a whole. If an interrogatory or its subpart
cannot be answered in full, answer to the extent possible and specify the reason for the inability
to answer the remainder, stating whatever information and knowledge you have regarding the
unanswered portion.

D. Each discovery request shall be construed independently. No discovery request

shall be construed by reference to any other for the purpose of limiting the response to such

interrogatory.
E. An evasive or incomplete answer is deemed to be a failure to answer.
F, Information claimed to be privileged or work product. In the event Defendants

object to providing any information requested in the discovery requests on the grounds that it is
privileged or work product, provide the following:
(1) state the nature of the privilege or doctrine you claim protects the
information requested;

(2) if the objection is in regard to a communication that is not a document:
Case 2:11-cv-14032-PDB-LJM ECF No. 34-3, PagelD.264 Filed 03/23/12 Page 3 of 16

(a) identify, as defined in the Definitions section of this document, the
communication; and

(b) identify, as defined in the Definitions section of this document,
each and every person to whom the substance of the communication has been
disclosed.

G If you objected to any discovery request, or any portion thereof, on the grounds of
annoyance, embarrassment, oppression, or undue burden or expense, set forth all facts upon
which you rely as the basis for your objection,

DEFINITIONS

A. “Document” is used in the broadest sense and refers to any form of communi-
cation or data storage however produced or reproduced, whether or not it now exists. “Docu-
ment” shall mean, without limitation, any data or information recorded in any form whatever,
including all written, printed, typed, photostatic, photographed, recorded, or otherwise repro-
duced communications, data compilations, or representations of every kind, whether comprised
of letters, words, numbers, pictures, sounds, or symbols, whether prepared by manual, mechan-
ical, electronic, magnetic, photographic, or other means, as well as audio, video or other
recordings of communications, oral statements, conversations, or events. Information stored
electronically, in any form, is expressly included.

B. “Identify” and “identifying” has the following meanings:

(1) When used in reference to a document, it means to state:
(a) its date and type (letter, memorandum or other form);
(b) the name and address of its author(s) or preparer(s); and the name

and address of his or her current employer(s);
Case 2:11-cv-14032-PDB-LJM ECF No. 34-3, PagelD.265 Filed 03/23/12 Page 4 of 16

(c) the name and address of the person(s) to whom the document is
addressed or was submitted; and the name and address of his or her current
employer(s);

(d) a brief description of the subject matter or topic of the document;

(e) the number of pages, with each side on which any written material
is present being considered a separate page;

(f) the document’s present location and the name and address of its
custodian(s); and the name and address of his or her current employer(s).

(2) | When used in reference to an individual person, it means to state:

(a) the person’s full name;

(b) the person’s last known residential address and residential
telephone number, and

(c) the person’s last known employer, business address and business
telephone number.

(3) When used in reference to any entity other than an individual person, it
means to state:

(a) the entity’s full name and nature (e.g. corporation),

(b) the entity’s last known address and telephone number; and

(c) the state in which the entity has its principal place of business.
(4) When used in reference to a communication that is not a document, it

means to state:

(a) the date of the communication;

(b) the place where the communication occurred;
Case 2:11-cv-14032-PDB-LJM ECF No. 34-3, PagelD.266 Filed 03/23/12 Page 5 of 16

(c) the type of communication (e.g. telephone conversation or in-
person meeting);

(d) the content of the communication;

(e) the name, residential and business addresses and telephone
numbers of all of the parties to the communication; and

(f) the name, residential and business addresses and telephone
numbers of all others who participated in or witnessed the communication.

i, “Handbag” or “Handbags” shall not mean grocery bags or other bags provided
free to customers to carry their purchases.

D. “Infringing Products” means articles, accessories, or products of any type
(including but not limited to handbags, wallets, eyewear, footwear, and watches) bearing the
name “Coach” or any of the Marks at Issue.

E. “Marks at Issue” means any and all marks (including trademarks, trade dresses or
copyrights) described in the Complaint, or any marks confusingly similar thereto.

F, “Plaintiffs” means the plaintiffs in this case, both individually and collectively, as
well as their officers, directors, shareholders, predecessors or successors in interest, affiliates,
subsidiaries, agents, employees, or any other person acting or purporting to act on their behalf.

G. “You” means Soon Hwa Kim, any member of her family as well as any agents,
employees, or any other person acting or purporting to act on her behalf.

H. “Dequindre Plaza” means Defendant Dequindre Plaza LLC and any related
entities, and any of its owners, members, directors, officer, agents, employees, or any other

person acting or purporting to act on its behalf, including Defendant Michael Surnow.
Case 2:11-cv-14032-PDB-LJM ECF No. 34-3, PagelD.267 Filed 03/23/12 Page 6 of 16

INTERROGATORIES
lL. State the date on which you began selling Infringing Products.
ANSWER:
2. Identify the number Infringing Products you have sold or otherwise distributed,

on a monthly basis, during the last 36 months. Of these sales, state which occurred at Dequindre
Plaza and which occurred elsewhere.

ANSWER:

3. Identify all your agents or employees who, during the last 36 months, have had
responsibility for any of the following tasks. If any of these individuals no longer work for you,
please so state.

e purchasing products for resale to consumers.

e keeping records with respect to inventory.

e determining the price to charge for Handbags or Infringing Products.
e selling Handbags or Infringing Products to consumers.

ANSWER:

4. Identify the approximate date on which you began selling merchandise at

Dequindre Plaza.

ANSWER:

3 Identify the number of instances in which you sold products at Dequindre Plaza.

ANSWER:

-6-
Case 2:11-cv-14032-PDB-LJM ECF No. 34-3, PagelD.268 Filed 03/23/12 Page 7 of 16

6. Identify the manufacturer(s) or designer(s) of the Infringing Products that you
have sold to consumers during the last 36 months or which are in your possession at this time.

ANSWER:

7. Identify all persons or entities from which you have purchased Infringing

Products during the last 36 months.

ANSWER:
8. Identify each and every purchase of Infringing Products by you during the last
36 months.
ANSWER:
o. Identify all legal actions which have been brought against you during the past five

years, whether civil, criminal or otherwise.

ANSWER:

10. Identify all businesses or business entities in which you have held any interest
during the previous five years.

ANSWER:

11. Identify each and every time you have spoken to Dequindre Plaza about the
purchase, sale or distribution of counterfeit products. Specifically, state who you spoke to, what

was said, and how many instances occurred prior to November 17, 2010.
Case 2:11-cv-14032-PDB-LJM ECF No. 34-3, PagelD.269 Filed 03/23/12 Page 8 of 16

ANSWER:

12. Identify each and every time you received written correspondence or documents
from Dequindre Plaza about the purchase, sale or distribution of counterfeit products.
Specifically, state how many instances occurred prior to November 17, 2010.

ANSWER:

[3: Identify all persons who have furnished information or documents for the purpose

of responding to these discovery requests.

ANSWER:
14. Identify all email addresses used or owned by you.
ANSWER:
15. Identify all communications that you have had with any party, other than your

attorneys, regarding the allegations of the Complaint.

ANSWER:

16. Have you sold, transferred, distributed, disposed of, or otherwise alienated any
Infringing Product since this litigation was filed? If so, describe the transaction in detail,
including the identification of the parties currently in possession of such items.

ANSWER:
Case 2:11-cv-14032-PDB-LJM ECF No. 34-3, PagelD.270 Filed 03/23/12 Page 9 of 16

L7, Do you have any reason to believe that the merchandise referenced in the
Complaint was licensed, manufactured or designed by Coach? If so, describe the basis for this
belief and identify all evidence, including testimony and documents, on which this belief is
based.

ANSWER:

REQUESTS FOR PRODUCTION
Li, All documents or things that were used or otherwise relied upon in the preparation
of your responses to Plaintiffs’ Interrogatories or Requests for Admission.

ANSWER:

2. All documents or things evidencing your possession, purchase, distribution or
resale of products bearing the Marks at Issue, including all Infringing Products in your
possession,

ANSWER:

2, All documents which reflect the profits and revenues received by you from the
sale or distribution of the Infringing Products during the last 36 months.

ANSWER:

4. All documents identifying the persons or entities from whom you purchased the
Infringing Products during the last 36 months.

ANSWER:
Case 2:11-cv-14032-PDB-LJM ECF No. 34-3, PagelD.271 Filed 03/23/12 Page 10 of 16

5. All documents or things evidencing communications related to the Infringing
Products.
ANSWER:

6. All documents or things evidencing communications between you and any other

defendant in this case.

ANSWER:

de All documents pertaining to other legal proceedings concerning your alleged
manufacture, distribution or sale of counterfeit goods, regardless of when such proceedings
transpired.

ANSWER:

8. All documents regarding any accusations of trademark and/or copyright in-
fringement, including, but not limited to the receipt of cease and desist letters, directed toward
you, regardless of the date on which such documents were authored or transmitted.

ANSWER:

9. Your tax returns filed for the previous three years and any amendments or

supplements thereto.

ANSWER:

-10-
Case 2:11-cv-14032-PDB-LJM ECF No. 34-3, PagelD.272 Filed 03/23/12 Page 11 of 16

10. Your existing inventory of goods intended for sale at Dequindre Plaza Flea
Market.

ANSWER:

11. | Documents sufficient to identify all bank accounts, investment accounts, savings

accounts, or any other account into which profits from the sale of Infringing Products may be

 

placed.
ANSWER:
REQUESTS FOR ADMISSION
l. Admit that you have sold goods to consumers that feature the word “Coach.”
ANSWER:
2. Admit that you have sold goods to consumers that have the word “Coach” on the

price tag.

ANSWER:

a. Admit that you have sold goods to consumers that display at least one of the
Marks at Issue.

ANSWER:

4, Admit that you knew you possessed products bearing at least one of the Marks at
Issue prior to July 8, 2011.

ANSWER:

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Case 2:11-cv-14032-PDB-LJM ECF No. 34-3, PagelD.273 Filed 03/23/12 Page 12 of 16

5. Admit that prior to July 8, 2011 you knew that Coach did not manufacture any

products you offered for sale.

ANSWER:

6. Admit that you conducted no investigation into the authenticity of the Infringing
Products you offered for sale prior to July 8, 2011.

ANSWER:

hs Admit that you conducted no investigation into the authenticity of the Infringing
Products you offered for sale subsequent to July 8, 2011.

ANSWER:

8. Admit that you received monies for the sale of Infringing Products that displayed

one or more of the Marks at Issue.

ANSWER:

9, Admit that you have communicated with the manufacturer(s) of the Infringing
Products you sold about the allegations of the Complaint.

ANSWER:

10. Admit that you have communicated with the distributors(s) of the Infringing

Products you sold about the allegations of the Complaint.

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Case 2:11-cv-14032-PDB-LJM ECF No. 34-3, PagelD.274 Filed 03/23/12 Page 13 of 16

ANSWER:

11. Admit that you have never been licensed to sell or display for sale any products

bearing the Marks at Issue.

ANSWER:

12. Admit that Coach has not manufactured any products you have offered for sale.

If you deny this Request for Admission, state the basis for your belief that the products were

manufactured by Coach.

ANSWER:

13. Admit that you have not communicated with consumers regarding your sale of

alleged counterfeit products.

 

ANSWER:
14. Admit that you have offered no refunds to consumers regarding your sale of
alleged counterfeit products. | | / |
i;
ANSWER: /
|
|
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I,
Dated: January 5, 2012 WX _
Joe Sadler (P71829)

Katherine Brooks (P74511)

WARNER NORCROSS & JUDD LLP
900 Fifth Third Center

111 Lyon Street, N.W.

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Case 2:11-cv-14032-PDB-LJM ECF No. 34-3, PagelD.275 Filed 03/23/12 Page 14 of 16

jsadler@wnj.com
Attorneys for Plaintiffs

CERTIFICATE OF SERVICE

Joe Sadler states that on January 5, 2012 he caused copies of Coach’s First
Interrogatories, Requests for Production and Requests for Admission to Defendant Soon Hwa
Kim to be deposited in the U.S. Mail with postage fully prepaid upon:

Richard T. Taylor
PO Box 430696
Pontiac, MI 48343

Jay N. Siefman

Jay N. Siefman, PLC

Ralph C. Simpson Robert R. Stearns

Gary D. Janadia Shawn J. Coppins

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30833 Northwestern Hwy., Ste. 205 | )
Farmington Hills, MI 48334 t
Joe Sadler” =
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Case 2:11-cv-14032-PDB-LJM ECF No. 34-3, PagelD.276 Filed 03/23/12 Page 15 of 16

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

COACH, INC. and COACH SERVICES,

INC.,
Civil Action No. 2:] 1-cv-14032-PDB-LJM

Plaintiffs,
Hon. Paul D. Borman

v.
DEQUINDRE PLAZA, L.L.C., MICHAEL
SHOLEM SURNOW, SOON HWA KIM,
ASABOR ALI, and MARJORIE ESTHER
GLOGOWER

Defendant(s).

COACH’S FIRST INTERROGATORIES, REQUESTS FOR PRODUCTION
AND REQUESTS FOR ADMISSION TO
DEFENDANT ASABOR ALI

Pursuant to Fed. R. Civ. Proc. 33, 34 and 36, Plaintiffs Coach, Inc. and Coach Services,
Inc. (collectively, “Coach”) propound the following Requests for Production, Requests for
Admission, and Interrogatories on Defendant Asabor Ali. Responses shall be provided to the
offices of Coach’s attorney at the address below within 30 days.

INSTRUCTIONS

A. These interrogatories and production requests are deemed to be continuing in
nature and should you, your counsel, or anyone representing your interest, acquire any additional
knowledge or information which affects the accuracy or completeness of any answer which
relates to the matter, such knowledge and information must be transmitted to the Plaintiffs’

attorney by way of supplemental answers. Failure to supplement an answer within a reasonable
Case 2:11-cv-14032-PDB-LJM ECF No. 34-3, PagelD.277 Filed 03/23/12 Page 16 of 16

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

COACH, INC. and COACH SERVICES,

INC.,
Civil Action No. 2:1 l-ev-14032-PDB-LJM

Plaintiffs,
Hon. Paul D. Borman

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DEQUINDRE PLAZA, L.L.C., MICHAEL
SHOLEM SURNOW, SOON HWA KIM,
ASABOR ALI, and MARJORIE ESTHER
GLOGOWER

Defendant(s).

COACH’S FIRST INTERROGATORIES, REQUESTS FOR PRODUCTION
AND REQUESTS FOR ADMISSION TO
DEFENDANT MARJORIE ESTHER GLOGOWER

Pursuant to Fed. R. Civ. Proc. 33, 34 and 36, Plaintiffs Coach, Inc. and Coach Services,
Inc. (collectively, “Coach”) propound the following Requests for Production, Requests for
Admission, and Interrogatories on Defendant Margaret Esther Glogower. Responses shall be
provided to the offices of Coach’s attorney at the address below within 30 days.

INSTRUCTIONS

A. These interrogatories and production requests are deemed to be continuing in
nature and should you, your counsel, or anyone representing your interest, acquire any additional
knowledge or information which affects the accuracy or completeness of any answer which

relates to the matter, such knowledge and information must be transmitted to the Plaintiffs’

attorney by way of supplemental answers. Failure to supplement an answer within a reasonable
